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                       United States District Court
                         District of New Jersey


 UNITED STATES OF AMERICA                :   Hon. Cathy L. Waldor
                                         :
              v.                         :   Mag. No. 23-9114
                                         :
 CHRISTOPHER MATTHAEI                    :   ORDER FOR CONTINUANCE

             This matter having come before the Court on the joint application

of Philip R. Sellinger, United States Attorney for the District of New Jersey (by

Jennifer Kozar, Assistant United States Attorney), and defendant Christopher

Matthaei (Christopher DeGennaro, Esq.), for an order granting a continuance of

the proceedings in the above-captioned matter from the date this order is

signed through and including July 31, 2023 to permit defense counsel the

reasonable time necessary for effective preparation in this matter and to allow

the parties to conduct plea negotiations; and the defendant being aware that he

has the right to have the matter submitted to a grand jury within 30 days of the

date of his arrest pursuant to Title 18 of the United States Code, Section

3161(b); and one prior continuance having been entered upon application of

the parties; and the defendant, through the defendant’s attorney, having

consented to the continuance; and for good and sufficient cause shown,

             IT IS THE FINDING OF THIS COURT that this action should be

continued for the following reasons:

             (1) The parties may engage in plea negotiations, which would

render any grand jury proceedings and any subsequent trial of this matter

unnecessary;
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           (2) The defendant has consented to the aforementioned continuance;

           (3) The grant of a continuance will likely conserve judicial resources;

     and

            (4) Pursuant to Title 18, United States Code, Section 3161(h)(7),

the ends of justice served by granting the continuance outweigh the best

interests of the public and the defendant in a speedy trial.

             IT IS, therefore, on this ___ day of May, 2023

             ORDERED that this action be, and it hereby is, continued from the

date this order is signed through and including July 31, 2023; and it is further

             ORDERED that from the date this order is signed through and

including July 31, 2023 shall be excludable in computing time under the

Speedy Trial Act of 1974.

                                            s/Cathy L. Waldor 5/18/23
                                            _______________________________
                                            HON. CATHY L. WALDOR
                                            United States Magistrate Judge

Form and entry consented to:




___________________________________
Jennifer Kozar
Assistant United States Attorney


___________________________________
Christopher DeGennaro, Esq.
Counsel for Defendant Christopher Matthaei

Approved by:

_/s/ Joshua L. Haber
Joshua L. Haber
Chief, Economic Crimes Unit
